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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:09CR125
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
DONNELL SMITH,                                )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 55). The government adopted the PSR (Filing

No. 59). The Defendant has filed a motion for variance (Filing No. 54). See Order on

Sentencing Schedule, ¶ 6. The Court advises the parties that these Tentative Findings are

issued with the understanding that, pursuant to United States v. Booker, 543 U.S. 220

(2005), the sentencing guidelines are advisory.

       The Defendant objects to the lack of a minor role objection in ¶ 32 of the PSR. The

objection will be heard at sentencing, and the Defendant has the burden by a

preponderance of the evidence.

       The Defendant’s motion for variance will be heard at sentencing.

       IT IS ORDERED:

       1.     The Defendant’s objections to the PSR (Filing No. 55) will be heard at

sentencing;

       2.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the
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submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

      3.      Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final;

      4.      Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing; and

      5.      The Defendant’s motion for variance (Filing No. 54) will be heard at

sentencing.

      DATED this 24th day of November, 2009.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge




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